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                              UNITED STATES DISTRICT COURT

                                DISTRICT OF SOUTH DAKOTA

                                      CENTRAL DIVISION


 BLUE STATE REFUGEES,                        LUKE                  3:21-CV-03024-RAL
 ROBERTSON, CHAD DOLLICK,

                        Plaintiffs,
                                                          ORDER REQUIRING ANSWER AND
                                                        RESPONSE TO MOTION TO ALTER OR
        vs.                                                     AMEND ORDER

 KmSTI NOEM, GOVERNOR OF SOUTH
 DAKOTA, IN HER OFFICIAL CAPACITY;
 SCOTT BOLLINGER, COMMISSIONER,
 BUREAU OF ADMINISTATION, IN HIS
 OFFICIAL AND INDIVIDUAL CAPACITIES;
 BRENT GILL, MANAGER, BUILDINGS AND
 GROUNDS, BUREAU OF ADMNISTRATION,
 IN HIS OFFICIAL AND INDIVIDUAL
 CAPACITIES; AND LEAH SVENDSEN,
 SPECIAL PROJECTS COORDINATOR,
 BUREAU OF ADMINISTRATION, IN HER
 OFFICIAL AND INDIVIDUAL CAPACITIES;

                        Defendants.




       On December 3, 2021, Plaintiffs filed a Motion to Alter or Amend, Doc. 15, requesting


that this Court amend its order of November 5, 2021, denying Plaintiffs' request for injunctive


relief as moot. In short, Plaintiffs received a permit for the protest they desired to conduct on the


South Dakota Capitol grounds after filing this lawsuit but remain unsatisfied with the State

Defendants' alleged lack of commitment to forego what Plaintiffs characterize as a "seasonal


speech ban." Doc. 16. Plaintiffs want this Court to direct Defendants to respond to the request for


preliminary injunction. The Defendants have not answered or otherwise responded. This Court
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has not dismissed this case, but merely encouraged the parties to file a joint motion to dismiss


when it appeared that issues between them had resolved. Doc. 14 at 7. For good cause, it is


       ORDERED that Defendants have 14 days to answer or otherwise respond to the Complaint


and to respond to the motion to alter or amend order filed in CM/ECF as Doc. 15. It is further


       ORDERED that the Clerk of Court provide the Office of the Attorney General of the State

of South Dakota with a copy of this order.


       DATED this 3rd day of December, 2021.

                                             BY THE COURT:




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                                             ROBERTO A. LAN'GE
                                             CHIEF JUDGE
